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                                                 January 18, 2018

   VIA ECF
   Honorable Mark Falk, U.S.M.J.
   Frank R. Lautenberg U.S. P.O. & Courthouse
   1 Federal Square, Box 2797
   Newark, New Jersey 07102

            Re:       Patel v. Pandya, et. al
                      Civil Action No.: 14-8127(WJM)(MF)

   Dear Judge Falk:

          We write to respectfully request an adjournment of the February 14, 2019 case
   management conference scheduled by the Court. I have a pre-planned vacation out of the country
   during this time. We conferred with Defendants’ counsel at the deposition of plaintiff (which
   was completed yesterday), and counsel are available on February 19 or 20 if the Court is
   available.

            Thank you for Your Honor’s continued assistance with this matter.

                                               Respectfully,

                                               GENOVA BURNS LLC

                                               s/ Rajiv D. Parikh
                                               RAJIV D. PARIKH
   RDP:dmc

   c:       Maria R. Fruci, Esq. (via electronic filing)
            Steve Varano, Esq. (via electronic filing)
            Joseph Slawinski, Esq. (via electronic filing)

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